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  Via ECF


  June 20, 2024

  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

  Re:       In re: Johnson & Johnson Talcum Powder Products Marketing,
            Sales Practices and Products Liability Litigation - MDL 2738

  Dear Magistrate Judge Singh:

         Pursuant to the Court’s request for bi-monthly reports, the parties jointly offer the
  following update on recent activities in the MDL:


 Expert Disclosures and Discovery:

     ▪     Depositions of the Plaintiffs’ experts have been completed.

     ▪     In accordance with the Court’s order, Defendants served expert reports on May 28,
           2024. The depositions of Drs. Sutcliffe, Holcomb, Nony, Longacre, Permuth, Merlo
           and Diette have been completed. The depositions of the remaining defense experts
           are scheduled during June and the first two weeks of July.

     ▪     On April 18, 2024, Defendants requested another deposition of Plaintiffs’ expert Dr.
           Saed on the basis that Plaintiffs’ other experts rely on multiple publications by Dr.
           Saed since his last deposition. Plaintiffs have withdrawn Dr. Saed as a Plaintiffs’
           expert and object to an additional deposition. The parties will meet and confer on
           this issue.

     ▪     On May 10, 2024, Defendants served a new set of requests for production
           concerning a new publication in May 2024 by Plaintiff’s expert Dr. Saed regarding
           talcum powder and ovarian cancer. Plaintiffs’ responses are now overdue.
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 Plaintiffs’ Subpoena to Public Library of Science (PLOS):

     ▪   On March 20, 2024, the PSC served the Public Library of Science (PLOS) with a
         subpoena for information related to a manuscript submitted by Plaintiffs’ expert Dr.
         Saed to PLOS in 2020.

     ▪   On April 12, 2024, Counsel for PLOS served an objection to the subpoena claiming
         privilege and confidentiality and attaching to the objection a Privilege Log on counsel
         for the Plaintiffs.


 Defendants’ Motion to Compel Inspection of Dr. William Longo’s Laboratory (Dkt.
 3227)


     •   On June 17, 2024, Special Master Schneider denied Defendants’ Motion to Compel
         the Inspection of Dr. William Longo’s Laboratory (ECF 32826).


 Notice of Subpoena to Paul Hess:

     •   Defendants filed an Amended Notice of Intent to Serve Subpoena on April 23, 2024
         (ECF 32037). The subpoena is for a videotaped deposition of Paul Hess, a non-
         party and employee of Plaintiffs’ expert, Dr. William Longo. On June 12, 2024,
         Special Master Schneider denied Plaintiffs’ motion to quash (ECF 32817). On June
         13, 2024, Defendants proposed three dates for the deposition.On June 19, 2024, in
         response to Defendants’ letter (ECF 32838), Judge Schneider requested that
         plaintiff’s counsel advise Mr. Hess‘s attorney that he has until Friday, June 21, 2024
         to advise the Court whether Mr. Hess cannot appear for a deposition before to July
         2, 2024.

 Subpoenas to Beasley Allen Law Firm, Smith Law Firm, and Ellington Management
 Group:

     •   On May 20 and 21, 2024, Defendants filed Notices of Intent to Serve Subpoena on
         the Beasley Allen Law Firm (ECF 32201), Ellington Management Group (ECF
         32215), and the Smith Law Firm (ECF 32226). On May 30, 2024, the Plaintiffs’
         Steering Committee filed a Motion to Quash or for Protective Order regarding these
         subpoenas (ECF 32483). Also on May 30, 2024, the Beasley Allen Law Firm
         separately filed a Motion to Quash and/or for Protective Order concerning the
         subpoena directed to the Beasley Allen Law Firm (ECF 32445). On June 3, 2024,
         Allen Smith and the Smith Law Firm filed a Motion to Quash the Subpoena directed
         to them (ECF 32603). Defendants filed one opposition to all three motions on June
         17, 2024 (ECF 32827). Replies may be filed on or before June 24, 2024. All three
         motions will be heard on July 1, 2024.
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  Plaintiffs’ Subpoena to Analysis Group LLC:

     ▪    On June 11, 2024, the PSC served Analysis Group LLC with a subpoena for
          information related to Defendants’ expert Dr. Kathleen Sutcliffe and her work on this
          litigation. The Defendants view the subpoena as overbroad and raising issues of
          financial disclosures for all experts in the MDL and intend to meet and confer on the
          issues.
 Bellwether Discovery Responses:

     ▪    On April 1, 2024, Plaintiffs served responses to Defendants’ Request for
          Admissions, Production Requests, and Interrogatories on the six Bellwether
          Plaintiffs. The parties continue to meet and confer on the adequacy of the
          responses.

 Plaintiff Profile Forms:

     ▪    On June 11, 2024, Your Honor entered Defendants’ Order to Show Cause why the
          cases listed in Exhibit A attached to the Order should not be dismissed with prejudice
          for their failure to provide Defendants with Plaintiff Profile Forms (ECF 32811). The
          Plaintiffs subject to the Order will have until July 2, 2024, to show cause why their
          case should not be dismissed with prejudice. Defendants will file a final dismissal
          order on July 16, 2024, dismissing any case subject to the Order which fails to show
          cause.

     ▪    The Defendants ask that Your Honor enter the Defendants’ Order to Show Cause
          why the cases listed in Exhibit A attached to the Order should not be dismissed with
          prejudice for their failure to provide Defendants with Plaintiff Profile Forms (ECF
          32601), filed on June 3, 2024. Defendants will file an updated list of cases subject
          to the June 3rd Order to Show Cause by June 21, 2024.

     ▪    With regard to PPF Reports, the parties agree that if a Plaintiff contends that
          Defendants have mistakenly placed a Plaintiff’s case on the deficiency list, counsel
          for the Plaintiff will reach out directly to defense counsel to advise of that error with
          Defendants to correct the list as needed. The parties agree that Plaintiffs should
          confirm the accuracy of the MDL Centrality information and close the MDL Centrality
          account for a particular plaintiff when a case is dismissed. Defendants’ deficiency
          list will be updated as corrections are received. The Plaintiffs should be reminded to
          check the lists each month for their cases and to promptly notify Defendants if they
          believe a case is listed in error, or if they have thereafter served the discovery.

 New Cases

      ▪    A complaint seeking certification of classes for medical monitoring and other relief
           was filed on June 17, 2024 (Joni S. Bynum et al. V. LLT Management LLC, et al.,
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          Civil Action 3:24-cv-07065). Defendants will file a tag-along notice with the JPML
          regarding the Bynum action which has been assigned to Judge Shipp. .

      ▪ A class action complaint seeking to declare that certain transactions implemented
        in conjunction with LTL’s bankruptcy filings were allegedly fraudulent was filed on
        May 22, 2024 ( Rebecca Love et al., v. LLT Management LLC, et al., Civil Action
        3:24-cv-06320). On June 6, 2024 Plaintiffs filed their Motion for TRO and Order to
        Show Cause Why a Preliminary Injunction Should Not Issue ( Rebecca Love et al.,
        Civil Action 3:24-cv-06320). Defendants’ Brief in Opposiiton to the TRO and
        Preliminary Injunction was filed on June 18, 2024. In response to Defendants’ tag
        of Love to the MDL, the JPML stated that tagging is not necessary as the case is
        already assigned to Judge Shipp.
        .
 Status of New Jersey Proceedings Before Judge Porto:

     ▪    Depositions of Plaintiffs’ case specific experts in the Carl and Balderrama matters
          were completed for Drs. Godleski, Wolf, and Cramer.
     ▪    Depositions of Defendants’ case specific experts in the Carl and Balderrama matters
          were completed for Drs. Finan (Carl & Balderrama) and Nagarsheth (Balderrama).
          Defendants’ other case specific expert for Carl and Balderrama, Dr. Felix, is
          scheduled to be deposed on June 22-23, 2024.


     ▪    The depositions of general experts appearing in both the MDL and MCL are being
          coordinated in accordance with the state court’s order.


     ▪    The parties filed post-trial briefs on the issue of disqualification on May 17, 2024 to
          Your Honor and Judge Porto; replies were filed on May 24, 2024.


          Thank you for your attention to these matters.


                                                  Respectfully,

                                                  /s/ Susan M. Sharko
                                                  Susan M. Sharko
                                                  FAEGRE DRINKER BIDDLE & REATH LLP



 Encl: (0)
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     All counsel of record (via ECF)
